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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                            CIVIL ACTION NO.:____________________

 ___________________________________

 EDWIN ETIENNE,

      Plaintiff,

 v.

 MRS BPO, LLC,

      Defendant.


                        NOTICE OF REMOVAL (FEDERAL QUESTION)

 TO THE CLERK OF THE ABOVE-ENTITLED COURT:

          Pursuant to 28 U.S.C. §§ 1331 and 1441 et seq., and 15 U.S.C. § 1692 et seq., Defendant

 MRS BPO, LLC (“Defendant”), hereby gives notice of removal of this cause of action, under the

 caption Edwin Etienne v. MRS BPO, LLC from the Seventeenth Judicial Circuit in and for

 Broward County, Florida under Case No.: COCE-21-031036 (“State Court Action”) to the

 United States District Court for the Southern District of Florida. In support of removal,

 Defendant, by and through its attorneys, states as follows:

          1.       On June 3, 2021, Plaintiff Edwin Etienne (“Plaintiff”) filed this action in the

 Seventeenth Judicial Circuit in and for Broward County, Florida. A copy of the state court

 record is attached and marked as Exhibit “1”.

          2.       Plaintiff served Defendant on June 9, 2021. This removal is timely pursuant to 28

 U.S.C. § 1446(b).




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           3.    This action is a civil action of which this Honorable Court has original

 jurisdiction under 28 U.S.C. § 1331, and is one which may be removed to this Court by

 Defendant pursuant to 28 U.S.C. § 1441(b) in that it presents a federal question, wherein Plaintiff

 alleges violations of the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692, et

 seq. This Court is the proper district for removal because the Seventeenth Judicial Circuit in and

 for Broward County, Florida is located within the jurisdiction of the United States District Court

 for the Southern District of Florida.

           4.    The undersigned is not aware of any other documents that have been filed in this

 matter.

           5.    Notice of this removal will be filed with the Seventeenth Judicial Circuit in and

 for Broward County, Florida.

           6.    By virtue of this Notice of Removal of Action and the Notice filed in the Action,

 Defendant does not waive its rights to assert any personal jurisdictional defenses or file other

 pre-answer motions including Federal Rule of Civil Procedure 12 motions and/or motions to

 compel arbitration as permitted by the Federal Rules of Civil Procedure.

           WHEREFORE, Defendant requests that further proceedings in the Seventeenth Judicial

 Circuit in and for Broward County, Florida, be discontinued and that this action be removed in

 its entirety to the United States District Court for the Southern District of Florida, which will

 then assume full jurisdiction over this cause of action.




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 Dated: July 8, 2021                           /s/ Ronald S. Canter
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                                               Bar # 335045
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                                               Local address:
                                               400 S. Dixie Hwy #322
                                               Boca Raton, Florida 33432
                                               Attorneys for Defendant

                                 CERTIFICATE OF SERVICE

         The undersigned hereby states that on July 8, 2021 he served the following parties with a

 copy of the Notice of Removal in Federal Court with Exhibit A, Civil Cover Sheet and this

 Certificate of Service via U.S. mail addressed as follows:

         Jibrael S. Hindi, Esq.
         Thomas J. Patti, Esq.
         The Law Offices of Jibrael S. Hindi
         110 SE 6th Street Suite 1744
         Fort Lauderdale, FL 33301

 Dated: July 8, 2021                           /s/ Ronald S. Canter
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